        Case 18-12947 Doc 7 Filed 11/04/18 Entered 11/04/18 08:45:51 Main Document Page 1 of 1
 Fill in this information to identify your case:
 Debtor 1               Helen                  J                           Drouillard
                        First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name                 Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                 Check if this is an
                                                                                                                             amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?           (If you are filing a joint case, do not list either spouse as a codebtor.)
       No
       Yes
2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             No
             Yes
                 In which community state or territory did you live?               Louisiana     Fill in the name and current address of that person.

                 John Drouillard
                 Name of your spouse, former spouse, or legal equivalent
                 deceased
                 Number          Street




                 City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

          Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                  Check all schedules that apply:

3.1       Thomas Guntle
          Name                                                                                         Schedule D, line
          54092 84th Ave                                                                                Schedule E/F, line
          Number        Street                                                                                                   4.2

                                                                                                       Schedule G, line

          Decatur                                        MI                49045                  Honor Credit Union
          City                                           State             ZIP Code




Official Form 106H                                                Schedule H: Your Codebtors                                                            page 1
